                 Case:
ILND 450 (Rev. 10/13)     1:19-cv-00574
                      Judgment in a Civil Action   Document #: 11 Filed: 03/07/19 Page 1 of 1 PageID #:32

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

Linda A Robinet,

Plaintiff(s),
                                                                   Case No. 19 CV 574
v.                                                                 Judge Sharon Johnson Coleman

United States of America,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which          includes       pre–judgment interest.
                                            does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


                   other: Case is dismissed without prejudice for failure to exhaust administrative remedies.

This action was (check one):

     tried by a jury with Judge      presiding, and the jury has rendered a verdict.
     tried by Judge      without a jury and the above decision was reached.
     decided by Judge Sharon Johnson Coleman.



Date: 3/7/2019                                                  Thomas G. Bruton, Clerk of Court

                                                                Yvette Montanez , Deputy Clerk
